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EXHIBIT L

ease 1:09-cv-00597-Li\/iB-TCB Document 323-13 i=iied 10/23/09 Page 2 or 4 Pag§i]§?¢ 'ssbj

Roth, Melissa R.
From: isabel lVl Humphrey [isabel@hhylaw.com]

Sent: Tuesday, October 06, 2009 5:01 PN|

To: Dickinson, iVlichelie J.

Cc: dludwig@dg|egal.com; Roth, l\ilelissa R.

Subject: RE'. Loomis

l‘vlichellel a native document production by us would protect you more from any perceived risk of data
destruction/falsification on our end than .tif tiles, although upon reflection l agree it might leave us more at risk for
any destruction or falsification by your client. ls that what you meant?‘? l will consult with everyone on this end
regarding our optionsl since you are insisting on receiving second-hand images of the documents rather than the
actual documents themselvesl

l have been sending you responses to the discovery issues you've raised, and am continuing to work on
additional responses. Once l have responded in writing, we can discuss those issues over the phone if you still
feel it's necessary l believe this is the third time l've said this. We can reserve Thursday Oct Sth at 1130 pm
Arizona time to confer regarding any remaining issues, if you like.

isabel Ni. Hurnphrey, Esq.

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2633 E indian Schoot Rd, #440
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----- Origina| Message ----
From: "Dickinson, Nliche|le J."
To: "|sabel Nl i-iumphrey"
Sent: 10/06)'2009 1111Pli/i
Subject: RE: Loomis

lsabeL

As much as we want very much to expedite your production of documents we cannot agree to an all-native
production of documents from your clients in light of the data destruction and falsification issues in this case As
agreed in the Discovery Plan, other than spreadsheets, PowerPoints and hnancia| systems such as Quici<books,
which must be produced in native format all other documents must be produced as TIFF images, Bates
numbered with an accompanying Concordance load fite and the following metadata: to, from, cc, bcc, date
senUreceived, subjectire;l extracted text. date created, date modihed, date last accessed, beg docl end doc, beg
attach, and end attach lf the vendor you chose in Canada is notable to make the conversions, l suggest you hire
another vendor asap and let us know when you expect to produce Joe Loomis’ electronic documents

¥our clients' responses to lntersections' document requests were due almost one month ago. You have not
produced a single document for either of your clients The fact that you have just now identified a data conversion
problem with Joe Loomis' electronic documents is concerning and does not explain why you have not produced a
single document for Jenni Loomis We need to discuss this on the telephone immediately and determine whether
we need the court's assistance with this and all of the other outstanding discovery issues in this case. Please
confirm your availability for a phone conference tomorrow at ‘l:OO EST. We have asked for this call numerous
times and have received either no response or the promise ofa letter responding to our concerns if you do

not confirm your availability for the cali tomorrow or offer another time, we will have no choice but to seek the

10/'22/2009

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court's assistance.

lVlichelie

From: Isabel M Humphrey [maiito:isabel@hhylaw.com]
Sent: Tuesday, OCtober 06, 2009 2:47 PM

To: Dickinson, Miche||e .`i.

Cc: dludwig@dglegal.com; Roth, Meiissa R.

Subject: RE: Loomis

l\i|iche|iel Joe has been working with a vendor in Canada on the document conversions, but they are
having a problem with his Outiook files The conversion process keeps skipping large numbers of emai|s.
The problem supposedly may have something to do with some of the emai|s originating from thce 2003
(rather than Otfice 2007), and/or with the sheer size of Joe's .pst file, but no solution has been identified
thus far. The vendor is running various tests in an attempt to resolve the issue, but this is taking longer
than expected

Given our schedule Joe has offered to provide his email disclosures in native format to get them to you
more quickly Let me know if you would iike to take him up on this offer and, if so, how you think we could
best handle document control.

isabel iVl. Humphrsyl Esq.

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---- Originai Nlessage »~--~

From: "Dickinson, iVlicheile J."

To: "|sabel lVl Humphrey" , "Randy Yavitz" ,
Sent: 10/05/2009 10122AN|

Subject: Loomis

Counsei:

We are concerned that your clients have several outstanding discovery issues that need to be addressed
completely before we begin depositionsl We would like to setup a call to discuss the following discovery
issues:

» Responses to our letters dated September 9, 18, and 25 regarding deficiencies in your
ciients' discovery responses;

» Your ciiehts‘ production of documents;

¢ imaging of computers; and

o Deposition dates

We can be available today at 3 p.m. EST or tomorrow at 4 p.m. EST. Please let me know if if either of
those times works for you. Thanks.
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1002/2009

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